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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
PATRICIA DONLEY )
) Case Number
Plaintiff )
)
vs. ) CIVIL COMPLAINT
)
)
CENTRAL PORTFOLIO )
CONTROL INC. ) JURY TRIAL DEMANDED
)
Defendant )
)

 

COMPLAINT AND JURY DEMAND
COMES NOW, Plaintiff, Patricia Donley, by and through her undersigned
counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire of Warren & Vullings,

LLP, complaining of Defendant, and respectfully avers as follows:

I. INTRODUCTORY STATEMENT
L; Plaintiff, Patricia Donley, is an adult natural person and brings this action
for actual and statutory damages and other relief against Defendant for violations of the
Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seg. (“FDCPA”), which prohibits

debt collectors from engaging in abusive, deceptive and unfair practices.

Il. JURISDICTION
2 Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.
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2 Venue in this District is proper in that the Defendant transacts business in

this District and maintains a registered office in this District.

Ill. PARTIES

“h Plaintiff, Patricia Donley, is an adult natural person residing at 125 Spring
Lake Drive #4, Erlanger, KY 41018. At all times material and relevant hereto, Plaintiff is
a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

5. Defendant, Central Portfolio Control Inc. (“Defendant”), at all times
relevant hereto, is and was a corporation engaged in the business of collecting debt within
the State of Kentucky and the state of New Jersey with a registered office located at 1820
Bear Tavern Road, Trenton, New Jersey 08560, and a primary location located at 16526
W. 78" Street #107, Eden Prairie, MN 55346-4302.

6. Defendant is engaged in the collection of debts from consumers using the
telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be
due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.
$1692a(6).

IV. FACTUAL ALLEGATIONS

7. In or around early May, 2010, Plaintiff began receiving calls from
Defendant’s agent, “Joseph D. Wolf”, collecting on an alleged debt owed to Credit One
Bank.

8. The debt was said to be for approximately $1,186.64.

9. On one of the earliest calls from Defendant’s agent, “Joseph D. Wolf”,

Plaintiff was told that if she failed to make a payment that they would ruin her credit.
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10. Plaintiff was extremely upset and ended the call.

11. On or about June 2, 2010, at approximately 9:36 pm, Plaintiff received
another call from Defendant’s agent, “Joseph D. Wolf’, called and demanded that the
Plaintiff make payment arrangements on this account.

12. Plaintiff informed Defendant’s agent that she had retained the services of
the law firm Persels & Associates, LLC and that they would need to call them directly
and speak with her attorney on this matter.

13, Defendant’s agent stated that it didn’t matter; he was not going to call
them.

14. On or about June 3, 2010, Defendant did in fact call Persels to discuss
Plaintiff's account.

15. Defendant’s agent, “Joseph D. Wolf’, became irate with representative at
Persels when he could not get payment on the above account mentioned out of them.

16. | Defendant’s agent, hung-up on Persels representative.

17. Persels received a second call from Defendant’s agent who told the
representative who answered that he wanted to choke the first girl that he spoke with.

18. On or about that same day, June 3, 2010, the law firm of Persels &
Associates, LLC sent a “cease & desist” letter to the Defendant informing them again that
they are representing the Plaintiff and that any further calls needed to go directly to their
firm. See Exhibit “A” (letter) attached hereto.

19, Later on that same day, Defendant’s agent, “Joseph D. Wolf”, called the
Plaintiff back again asking for the account to be paid just after speaking to the law firm

representing the Plaintiff.
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20. On or about June 4, 2010, Plaintiff received another call from Defendant.

Zl As of June 9, 2010, Plaintiff has continued to get calls every day from
Defendant wanting to set up payment arrangements on this account.

22. The Defendant acted in a false, deceptive, misleading and unfair manner
by threatening to take action that it did not intend to take for the purpose of coercing
Plaintiff to pay the debt.

23. The Defendant acted in a false, deceptive, misleading and unfair when
they engaged in conduct the natural consequence of which is to harass, oppress or abuse
such person in connection with the collection of a debt.

24. | The Defendant knew or should have known that their actions violated the
FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and
their agent’s actions within compliance of the FDCPA, but neglected to do so and failed
to adequately review those actions to insure compliance with the law.

25. At all times pertinent hereto, the conduct of Defendant was malicious,
intentional, willful, reckless, negligent and in wanton disregard for federal and state law
and the rights of the Plaintiff herein.

26. As aresult of Defendant’s conduct, Plaintiff has sustained actual damages,
including, but not limited to, injury to Plaintiffs reputation, invasion of privacy, damage
to Plaintiff's credit, out-of-pocket expenses, physical, emotional and mental pain and
anguish and pecuniary loss and he will continue to suffer same for an indefinite time in

the future, all to her great detriment and loss.
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COUNT I~ FDCPA

20. The above paragraphs are hereby incorporated herein by reference.

21. At all times relevant hereto, Defendant was attempting to collect an
alleged debt which was incurred by Plaintiff for personal, family or household purposes
and is a “debt” as defined by 15 U.S.C. § 1692a(5).

22. The foregoing acts and omissions constitute violations of the FDCPA,
including but not limited to, violations of:

§§ 1692c(a)(2) After it knows the consumer to be represented by an
attorney unless attorney consents or is unresponsive

§§ 1692d Any conduct the natural consequence of which is to
harass, oppress or abuse any person

$§ 1692d(5) Caused the phone to ring or engaged any person in

telephone conversations repeatedly

§§ 1692d(6) Placed telephone calls without disclosing his/her
identity
§§ 1692e Any other false, deceptive, or misleading

representation or means in connection with the debt

collection

§§ 1692e(2) Character, amount, or legal status of the alleged
debt

§§ 1692e(10) Any false representation or deceptive means to

collect a debt or obtain information about a

consumer
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§§ 1692f Any unfair or unconscionable means to collect or
attempt to collect the alleged debt
WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
Defendant, Central Portfolio Control Inc., for the following:
a. Actual damages;
Di Statutory damages pursuant to 15 U.S.C. § 1692k;
c. Reasonable attorney’s fees and litigation expenses, plus costs of suit; and
d. Such additional and further relief as may be appropriate or that the

interests of justice require.

Vv. JURY DEMAND

Plaintiff hereby demands a jury trial as to all issues herein.

Respectfully submitted,
WARREN & VULLINGS, LLP

Date: June 11, 2010 BY:__/s/ Bruce K. Warren
Bruce K. Warren, Esquire

/s/_ Brent F. Vullings
Brent F. Vullings, Esquire

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